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                          UMTED STATESDISTRICTCOURT

                                   -------x
THAD TATUM,
anindividual,                                   CASENO.:

             Plaintifi
                                                Judge:
vs.

COMMERCI.AL    PROPERTIES    REALTY
TRUST,LLC                                       Magistate:
a MarylandLimitedLiability Company,

             Defedant.
                                  --------x

                                     COMPTAINT
      Plaintifi THAD TATUM, by and ttrough his undersigned
                                                         counsel,herebyfiles this
complaintandsuesCOMMERCIALPROPERTIES
                                   REALTYTRUST,LLC,aMarylandLimited
LiabilityCompany,
                for declaratory
                              ard injunctiverelief,attorneys'fees,andcostspursuant
                                                                                 to the
Americans
        withDisbilitiesAct,42u.s.c. $ l2l gl ets€g.,and
                                                      alleges:

                           .IURISDICTIqN AII{DPARTIES
1.    Thisis anrction for declaratory
                                    andinjunctivereliefpursuantto Title III of theArnericans
      WithDisabilities
                     Act,42U.S.C.S 12181etseq.(lrereinafter
                                                         referred
                                                                to asthe"ADA,). This
      Courtis vesd with originaljurisdictionpursuant
                                                  to 28 U.S.C.SS133I and 134j.
2.    ventreis properin thiscourt pursuant
                                        to 2g{.J.s.c.$1391(b).
3.    Plaintifi,TI{AD TATUM, (trereinafter     to as'MR. TATUM' or'?LAINTIFF
                                        referrEd                                     ), is
      a residentof OrleansParisbLouisiana.
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4.     MR' TATUM is a qualifiedindividualwith a disabilityunderthe ADA.
                                                                        MR. TATUM is

       afflictedwith paraplegia.

5.     Dueto hisdisability,PLAINTIFFis substantially
                                                   impairedin severalmajorlife activitiesand

       requiresa wheelchairor walkerfor mobility.

6.    upon informationandbelief DefendantCOMMERCIALpRopERTIESREALTY
                                                                                    TRUST.

      LLC is a MarylandLimited Liability Company,registeredto do businessin the
                                                                                Stateof

      Louisiana(hereinafterreferredto as"DEFENDANT"). DEFENDANTis theowner,
                                                                          lessee,

      lessorand/oroperatorof the realpropertiesandimprovementswhich is the subject
                                                                                 of this

      action,to wit: SenaMall, generallylocatedat l l 07-ll l l Veteran'sMemorialHighway,

      Metairie,LA 70005. TheDEFENDANTis obligatedto complywith theADA.

7.    All eventsgiving rise to this lawsuitoccurredin the EasternDistrict of Louisiana,Orleans

      Parish,Louisiana.




                       AMERICANS WITH DISABILITIES ACT

8.    PLAINTIFFreallegesandreaversParagraphs
                                           | - 7 asif theywereexpresslyrestatedherein.

9.    ThePropertyis a placeof public accommodation,
                                                 subjectto the ADA, generallylocatedat

      1107-1111
              Veteran'sMemorialHighway,Metairie,LA 70005.

10.    MR. TATUM has visited the Propertyand plansto visit the Property againin the near

      future.

11.   During his visit, MR. TATUM experiencedseriousdifficulty accessingthe goodsand

      utilizing the servicesthereindueto thearchitecturalbarriersasdiscussed
                                                                           in paragraphl4 of
                                              2
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        this Complaint.

 12'   MR' TATUM continuesto desireto visit the Property,butcontinuesto experience
                                                                                 serious
       difficulty dueto the barriersdiscussed
                                            in Paragraphl4which still exist.
13'    MR' TATUM intendsto andwill visit the Propertyto utilize the goodsand
                                                                            servicesin the
       future,but fearsthat he will encounterthe samebarriersto accesswhich arethe
                                                                                   subjectsof
       this action.

14'    DEFENDANTisinviolationof 42U.S.C.$ 12181etseq.and28C.F.R. 36.302
                                                               $      etseq.and
       is discriminatingagainstPLAINTIFF due to, but not limited to the followirg
                                                                                      violations
       which PLAINI'IFF personallyobservedand/orencountered
                                                          which hinderedhis access:

              A.      tn the parking area,there are no "van accessible"spacesdesignatedfor

                      disableduse;

              B.      The accessible
                                   parkingspacesareimproperlydispersedandmarked;

              C.      The signsdesignatingdisabledusespacesareimproperlyposted;

              D.      The disabledparking spacesare not the proper width and do not have

                      appropriateaccessaisles;

              E.      Thereis no compliantaccessible
                                                   routefrom theparkingareasto thefacility;

              F.      llhere is no compliantaccessible
                                                     routefrom the streetto the facility;

              G.      Therearerirmpsandcurbcutsat the facility that do not havelevel landings

                      and/orcontainexcessive
                                           slopes,andfail to providea smoothtransitionwhere

                      the rampsconnectwith the sidewalkandroadway;and

             H.       The restroomsin the facility arenon-compliant.

15.    Furthermore,DEFENDANT continuesto discriminateagainstPLAINTIFF, and others
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       similarly situated, by failing to make reasonablemodifications in policies, practices or

       procedures, when such modifications are necessaryto provide PLAINTIFF
                                                                             an equal

       opportunityto participatein, or benefitfrom, the goods,senrices,
                                                                     facilities,privileges,
       advantages,and accommodationswhich DEFENDANT offers to the generalpublic;
                                                                                 and by

      failing to take such efforts that may be necessaryto ensurethat no individual with a disability

      is excluded, denied services, segregated,or otherwise treated differently than
                                                                                     other

      individuals becauseof the absenceof auxiliary aids and services.

16.   To date, all barriers to accessand ADA violations still exist and have not beenremedied
                                                                                             or

      altered in such a way as to effectuate compliance with the provisions of the ADA,
                                                                                        even

      though removal is readily achievable.

17.   Removal of the discriminatory barriers to access located on the Property is
                                                                                  readily

      achievable,reasonably feasible, and easily accomplished,and would not place an
                                                                                     undue

      burden on DEFENDANT.

19.   Removal of the barriers to accesslocated on the Property would provide pLAINTIFF
                                                                                       an

      equalopportumty to participate in, or benefit from, the goods,services,and accommodations

      which DEFENDANT offers to the generalpublic.

20.   Independentof his intent to return as a patron to the Property, PLAINTIFF additionally

      intendsto refurn as an ADA testerto determinewhether the barriers to accessstatedherein

      have been remedied.

2t.   PLAINTIFF has been obligated to retain the undersigned counsel for the filing
                                                                                    and

      prosecution of this action. PLAINTIFF is entitled to have his reasonableattorneys,
                                                                                         fees,

      costs,andexpenses
                     paidby DEFENDANT,
                                    pursuant
                                          to 42u.s.c. $ 12205.


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       WHEREFORE, PLAINTIFF demandsjudgment against DEFENDANT, and requeststhe

following injunctive and declaratoryrelief:

       A.     That this Court Declare that the Property owned, leased and/or operated by

              DEFENDANITis in violationof the ADA;

       B.     Thatthis Courtenteran OrderdirectingDEFENDAIIT to alterthe facilrtyto make

              it accessible
                          to anduseableby individualswith disabilitiesto thefull extentrequired

              by Title III of the ADA;

       C.     Thatthis CourtenteranOrderdirectingDEFENDANTto evaluateandneutralizeits

              policies,practices,andprocedures
                                             towardspersonswith disabilitiesfor a reasonable

              amountof time, allowingimplementation
                                                  andcompletionof correctiveprocedures;

       D.     Thatthis Courtawardreasonable
                                          attorneys'fees,costs(includingexpertfees),and

              otherexpensesof suit,to PLAINTIFF;and

       E.     That this Court awardsuchotherandfulher relief as it deemsnecessary,
                                                                                just and

              proper.

                                                  RespectfullySubmitted,

                                                  THE BZER LAW FIRM
                                                  Attorneysfor Plaintiff
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